Case 4:24-cr-00372-SEH             Document 79-5 Filed in USDC ND/OK on 12/30/24                    Page 1 of 2



                      Brandon Wilson, M.S.                               Senior Forensic Chemist
                      Department of Justice                              South Central Laboratory
                      Drug Enforcement Administration                    Dallas, Texas
                      Office of Forensic Sciences


                                           AREA OF EXPERTISE

Forensic Discipline
            Seized Drug Analysis

Expert Testimony
            Testified Approximately 11 times.
                 • United States of America v Charlie Manuel Dejesus-Rivera, 4:21CR254, Eastern District of
                     Texas (Plano, Texas) 2022.
                 • United States of America v Ricardo Zamora, 19-101 (SRN/ECW), Eastern District of
                     Michigan (Detriot, Michigan) 2022.
                 • United States of America v. Aaron Rhy Broussard, 2:20-cr-20318-SJM-APP, District of
                     Minnesota (St. Paul, Minnesota) 2022.
                 • Houston,Texas. 2019.
                 • 16-197, New Orleans, Louisiana. 2019.
                 • 4:19 CR-060-O, Fort Worth, Texas, 2019.
                 • 5:18-CR-00113-C, Lubbock, Texas, 2019.
                 • MO-18-CR-237, Midland, Texas, 2019.

                                     PROFESSIONAL EXPERIENCE
Drug Enforcement Administration
Senior Forensic Chemist, South Central Laboratory, (Dallas, Texas), 2014 - Present
                 •   Analyze suspected drug evidence for the presence or absence of controlled and non-
                     controlled substances
                 •   Maintain chain-of-custody through proper handling and security of physical evidence
                 •   Provide expert testimony in courts of law
                 •   Assist with training of law enforcement and emergency medical services
Training
                 •   High Hazard Clandestine Laboratory Certification School, (Valencia, CA), 2016
                 •   Basic Clandestine Laboratory Certification School, (Quantico, VA), 2015
                 •   Basic Forensic Chemist Training, (Quantico, VA), 2014


Alabama Department of Forensic Science
Intern, Drug Chemistry Section (Montgomery, Alabama) 2013-2014
                 •   Assisted screening suspected drug evidence
                 •   Assisted with the daily verifications, maintenance and troubleshoot of instrumentation: Fourier
                     Transform Infrared Spectroscopy(FT-IR) and Gas Chromatograph-Mass Spectrometer(GC-
                     MS)
                 •   Assisted recording case notes and report writing
                 •   Scanned and electronically labeled documents
                 •   Prepared reagents and filled solvent bottles
                 •   Provided general laboratory housekeeping

                                  EDUCATION AND CERTIFICATIONS

                                                                                      Page 1 of 2 (MM/DD/YYYY)
 Case 4:24-cr-00372-SEH          Document 79-5 Filed in USDC ND/OK on 12/30/24                     Page 2 of 2


 Alabama State University, (Montgomery, Alabama)
                •   Master of Science Degree, Forensic Science, 2014
                •   Bachelor of Science Degree, Chemistry, 2011



NANO REU/SROP The University of Iowa, (Iowa City, Iowa), 2010
                •   Researched the control release of aspirin in mesoporous and zeolitic systems
                •   Synthesized inorganic molecules on the nano scale
                •   Characterized products using Infrared Spectroscopy, TGA, and X-ray diffraction




                                                                                  Page 2 of 2 (MM/DD/YYYY)
